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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re                                                                    Chapter 11

         53 Stanhope LLC, et al,1                                        Case no. 19-23013 (RDD)
                                                                         Jointly Administered
                                    Debtor.
----------------------------------------------------------x

STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )

                  David Goldwasser, as authorized signatory of GC Realty Advisors, LLC, as Vice

President, of the jointly administered debtors herein (the “Debtors”) deposes and says under

penalty of perjury, as follows:

                  1.       I am submitting this affidavit under the local rules of this Court in support

of each Debtor’s Chapter 11 filing.

                  2.       On May 20, 2019, each of the Debtors filed a Chapter 11 petition under

Title 11 of the United States Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”), except 167

Hart LLC which filed its petition on February 21, 2019.

                  3.       These cases involve loans made by Signature Bank to the Debtors in the

form of 13 separate notes and mortgages covering 26 properties dating back to September 2012.

All of the loans were assigned to Brooklyn Lender LLC (“Brooklyn Lender” or “Mortgagee”) on

or about May 17, 2017. At that time, each Debtor was current on its payment obligations and not




1
  The Debtors in these chapter 11 cases and the last four digits of each Debtor's taxpayer identification number are as
follows: 53 Stanhope LLC (4645); 55 Stanhope LLC (4070); 119 Rogers LLC (1877); 127 Rogers LLC (3901); 325
Franklin LLC (5913); 618 Lafayette LLC (5851); C & YSW, LLC (2474); Natzliach LLC (8821); 92 South 4th St
LLC (2570); 834 Metropolitan Avenue LLC (7514); 1125-1133 Greene Ave LLC (0095); APC Holding 1 LLC
(0290); D&W Real Estate Spring LLC (4591); Meserole and Lorimer LLC (8197); 106 Kingston LLC (2673);
Eighteen Homes LLC (8947); 1213 Jefferson LLC (4704); 167 Hart LLC (1155).
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otherwise in default. The principal amount owed on the loans total at the time of transfer to

Brooklyn Lender was approximately Twenty-five Million ($25,000,000) Dollars, as follows:

 Debtor                   Property                             Value              Mortgage
                                                                                  Principal
 53 Stanhope LLC          53 Stanhope Street Brooklyn NY       $3,500,000         $2,664,019
 325 Franklin LLC         325 Franklin Avenue, Brooklyn NY
 (Joint Owners)
 119 Rogers LLC           119 Rogers Avenue, Brooklyn, NY      $3,000,000         $2,077,307
 127 Rogers LLC           127 Rogers Avenue, Brooklyn, NY      $3,500,000         $2,121,334
 167 Hart LLC             167 Hart Street, Brooklyn, NY        $2,100,000         $791,396
 106 Kingston LLC         106 Kingston Ave Brooklyn, NY        $2,100,000         $730,949
 618 Lafayette LLC        618 Lafayette Ave                    $1,900,000         $779,122
                          Brooklyn, New York
 C&YSW, LLC               129 South 2nd Street, Brooklyn, NY   $9,000,000         $4,943,431
 Natliach LLC             107 South 3rd Street Brooklyn, NY
 (Joint Owners)           109 South 3rd Street Brooklyn NY
 Eighteen Homes LLC       263 18th Street, Brooklyn, NY        $1,800,000         $823,000
 1213 Jefferson LLC       1213 Jefferson Avenue, Brooklyn,     $1,500,000         $898,840
                          NY
 92 South 4th LLC         92 South 4th Street, Brooklyn, NY    $4,500,000         $2,236,419
 834 Metropolitan LLC     834 Metropolitan Ave, Brooklyn,
 (Joint Owners)           NY
 1125-1131 Greene         1125-1131 Greene Avenue,             $6,000,000         $3,025,651
 Avenue, LLC              Brooklyn, NY
 APC Holding 1 LLC        568 Willoughby Avenue, Brooklyn,     $3,500,000         $1,256,364
                          NY
 D&W Real Estate          130 South 2nd Street, Brooklyn, NY   $26,000,000        $12,897,588
 Spring LLC               318 Bedford A venue, Brooklyn, NY
                          740 Driggs Avenue, Brooklyn, NY
 Meserole & Lorimer       144 Huntington Street, Brooklyn,
 LLC                      NY
 (Joint Owners)           68 Carroll Street, Brooklyn, NY
                          342 Rodney Street, Brooklyn, NY
                          178 Meserole Street, Brooklyn NY
                          180 Meserole Street, Brooklyn NY
                          182 Meserole Street, Brooklyn NY
                          440 Lorimer Street, Brooklyn NY



               4.       Brooklyn Lender LLC was created on May 9, 2017, immediately before it

acquired the loans. Upon information and belief, Brooklyn Lender is affiliated with Maverick Real

Estate Partners LLC. According to its website, Maverick is a private equity fund manager that


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acquires commercial mortgages secured by real estate in New York City. Maverick, Brooklyn

Lender and or its affiliated entities actively sought loans in which Chaskiel Strulovitch was the

guarantor or principal of the borrower. From correspondence between Maverick and various

banks, including Bank United, Maverick requested that the banks default the Strulovitch loans and

then assign them.

               5.      Evidently, Signature refused to default the Debtors. As soon as Brooklyn

Lender acquired the loans, it sent its own default notices primarily alleging non-monetary defaults

arising from alleged misrepresentations in financial statements Chaskiel Strulovitch submitted

with the Debtors’ loan applications as the potential guarantor of the mortgages. Brooklyn Lender

claims that due to those alleged defaults, it is entitled to 24% default interest retroactive to the

loans’ origination dates, for a total of more than $15 million more than the principal amount due!

This, notwithstanding the fact that the loans are essentially non-recourse with only limited

guaranties, so the value of Mr. Strulovitch’s stake in the properties listed was not particularly

important. Brooklyn Lender also made allegations that Mr. Strulovitch misrepresented the extent

of his ownership of a few of the Debtors.

               6.      Maverick relied upon allegations made against Mr. Strulovitch in the

District Court for the Eastern District of New York a month earlier on April 10, 2017, by various

Israeli investors alleging that they were entitled to ownership interests in certain properties

controlled by Mr. Strulovitch. Those certain properties were among those listed on the financial

statement submitted in connection Debtors’ loan applications.

               7.      The Federal Court lawsuit was dismissed in a 47-page Memorandum and

Order dated November 2, 2017 (Amon, J.) where the District Court either dismissed or refereed to


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arbitration plaintiffs’ federal securities’ claim and declined to retain jurisdiction over plaintiffs’

remaining state law claims. The plaintiffs appealed, but then withdrew the appeal. Although the

state law claims were dismissed without prejudice for re-filing in state court, no such state claims

were filed. Nor have the plaintiffs proceeded with the arbitration of their alleged Federal claims.

The Brooklyn Lender’s foreclosure case, however, proceeds.

                8.      Besides the misrepresentations alleged as an event of default, Brooklyn

Lender also declared each loan in default for various alleged open water and sewer bills and HPD

and DOB violations, as an additional basis for 24% interest.

                9.      New York law does little to protect a borrower from a bank assigning a loan

to a predatory secondary market purchaser seeking to declare a technical non-monetary default to

effectuate a forfeiture or windfall profits. In the City of New York where minor building

violations are common and often time consuming, expensive and difficult to remove, the

consequences of a loan assignment to a predator can be devastating for owners and general

unsecured creditors.

                10.     The Debtors filed these cases to obtain a determination that the default

notices were defective and that the loans were not in default. Alternatively, the Debtors seek to

effectuate a cure of any default under a Chapter 11 plan pursuant to sections 1124(2)(A)

incorporating section 365(b)(2)(D), which does not require the satisfaction of a penalty rate

relating to the failure to perform a nonmonetary obligation.




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               11.    Meanwhile, the Debtors shall apply to use cash collateral to maintain the

Property and pay debt service. Within its exclusive period the Debtors intend to file a Chapter 11

plan that leaves creditors unimpaired.

Dated: New York, New York
       June 3, 2019
                                             s/David Goldwasser, as authorized signatory of GC
                                             Realty Advisors, LLC, as Vice President




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